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                       IN THE UNITED STATES DISTRICT COURT F
                       OR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 THOMAS JOSEPH BUCK,                            )
                                                )
        Plaintiff-Respondent,                   )
                                                )
 v.                                             )      Case No. 2:22-mc-00017-JTF-tmp
                                                )
 JANICE J. COMPTON,                             )
                                                )
        Defendant-Claimant.                     )


                           MOTION TO WITHDRAW AS COUNSEL


        Pursuant to Local Rule 83.5, Riley & Jacobson, PLC requests that the Court allow it to

 withdraw from the representation of Thomas Joseph Buck. As grounds, Mr. Buck is unable to

 afford, and does not wish to incur, any more attorney fees in this matter. Mr. Buck has been making

 his filings pro se at the appellate level since the Sixth Circuit issued its December 20, 2023 opinion

 and judgment.

        Counsel certifies that it informed Mr. Buck by e-mail and telephone on April 16, 2024, that

 Riley & Jacobson, PLC would seek to withdraw as counsel for this stated reason after the Court

 issued its Order directing the parties to submit briefing regarding the possibility of pre-judgment

 interest and applicable Tennessee or Indiana law. Counsel has further discussed the matter with

 Mr. Buck and he approves the withdrawal as reflected by his signature below. Mr. Buck’s

 telephone number is 317-503-0468. Mr. Buck does not have a steady home address, but the best

 address to deliver mail to him is at 90 Beachside Dr., #202, Vero Beach, FL 32963.

        Counsel respectfully requests that the Court grant the Motion to Withdraw.
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                                          Respectfully Submitted,



                                          s/Salvador M. Hernandez
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 Approved by:



 _______________________
 Thomas Joseph Buck
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                                 CERTIFICATE OF SERVICE

        I hereby certify that service of the foregoing document was made upon the following via

 email and the Court’s ECF filing system on this 25th day of April, 2024:

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                                                     s/Salvador M. Hernandez
